  Case 1:24-cv-03285-SHS-OTW                      Document 354      Filed 05/20/25      Page 1 of 40




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


------------------------------------------------------- X
                                                             :
                                                             :   No. 1:25-md-03143-SHS-OTW
IN RE: OPENAI, INC. COPYRIGHT                                :
INFRINGEMENT LITIGATION                                      :   Hon. Sidney H. Stein
                                                             :   Hon. Ona T. Wang
                                                             :
------------------------------------------------------- X
                                                             :
THIS DOCUMENT RELATES TO:                                    :
                                                             :
Case No. 1:23-cv-11195-SHS-OTW                               :
Case No. 1:24-cv-03285-SHS-OTW                               :
Case No. 1:24-cv-04872-SHS-OTW                               :
                                                             :
------------------------------------------------------------ X



                  OPENAI’S AMENDED ANSWER TO PLAINTIFF
         THE NEW YORK TIMES COMPANY’S FIRST AMENDED COMPLAINT
    Case 1:24-cv-03285-SHS-OTW             Document 354        Filed 05/20/25       Page 2 of 40




       Pursuant to Federal Rule of Civil Procedure 15, Defendants OpenAI, Inc., OpenAI LP, 1

OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo LLC, OpenAI Global LLC, OAI Corporation

LLC 2, and OpenAI Holdings, LLC (collectively, “OpenAI”), by and through the undersigned

counsel, submit the following answer to Plaintiff’s First Amended Complaint.

       OpenAI states that the headings and sub-headings throughout the First Amended

Complaint do not constitute well-pleaded allegations of fact and, therefore, require no response.

To the extent a response is deemed required, OpenAI denies the allegations contained in the First

Amended Complaint’s headings and sub-headings.

       OpenAI denies all allegations in the First Amended Complaint that are not explicitly

admitted and otherwise answers as follows:

                    I.      RESPONSE TO NATURE OF THE ACTION3

       1.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       2.      Denied.

       3.      OpenAI admits that the Copyright Act “promote[s] the Progress of Science and

useful Arts, by securing for limited Times to Authors and Inventors the exclusive Right to their

respective Writings and Discoveries.” U.S. Const. art. I, § 8, cl. 8. OpenAI lacks knowledge or

information sufficient to admit or deny the allegations of this paragraph about Plaintiff, and on that

basis denies them. OpenAI denies any remaining allegations of this paragraph.

       4.      Denied.



1
  OpenAI LP is now known as OpenAI OpCo, LLC.
2
  OAI Corporation, LLC converted in September 2023 from a limited liability company to a
corporation named OAI Corporation.
3
  OpenAI neither admits nor denies the contents of the various headings and subheadings in the
complaint, which are reproduced herein solely for convenience.


                                                 -2-
  Case 1:24-cv-03285-SHS-OTW              Document 354        Filed 05/20/25      Page 3 of 40




       5.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff and about Microsoft Corporation, and on that basis denies them.

OpenAI denies any remaining allegations of this paragraph.

       6.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft Corporation, and on that basis denies them. OpenAI admits that

its valuation is over $90 billion. OpenAI denies any remaining allegations of this paragraph.

       7.      OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       8.       To the extent the allegations of this paragraph purport to quote from portions of

publicly available written statements, the full text of those statements speaks for itself. OpenAI

denies any remaining allegations of this paragraph.

       9.      Denied.

                   II.     RESPONSE TO JURISDICTION AND VENUE

       10.     The allegations of this paragraph state a legal conclusion to which no response is

required. To the extent a response is deemed required, OpenAI admits that this action purports to

arise under the copyright laws of the United States, 17 U.S.C. § 101 et seq., and that the Court has

original subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

OpenAI denies any remaining allegations of this paragraph.

       11.     For the purposes of this action, OpenAI does not contest personal jurisdiction. To

the extent the allegations of this paragraph relate to Plaintiff’s claims against Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny the allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       12.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations


                                                -3-
  Case 1:24-cv-03285-SHS-OTW               Document 354         Filed 05/20/25      Page 4 of 40




of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

       13.     For the purposes of this action, OpenAI does not contest venue. OpenAI lacks

knowledge or information sufficient to admit or deny the allegations of this paragraph about

Microsoft. OpenAI denies any remaining allegations of this paragraph.

                            III.    RESPONSE TO THE PARTIES

       14.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them.

       15.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI admits that Microsoft Corporation committed to a multi-

year, multi-billion-dollar investment in OpenAI. OpenAI admits that Microsoft Corporation has

a minority economic interest in OpenAI Global, LLC, a capped profit company. OpenAI denies

any remaining allegations of this paragraph.

       16.     To the extent the allegations of this paragraph are directed at Microsoft, OpenAI

lacks knowledge or information sufficient to admit or deny those allegations, and on that basis

denies them. OpenAI admits that it has entered into a strategic partnership with Microsoft that

involves compute, commercial, and investment collaboration. To the extent the allegations of this

paragraph purport to quote from a publicly available earnings call, the full text of the earnings call

speaks for itself. To the extent the allegations of this paragraph summarize or characterize or are

inconsistent with that earnings call, OpenAI denies those allegations.          OpenAI denies any

remaining allegations of this paragraph.

       17.     OpenAI admits that OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC,

OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, and OpenAI Holdings, LLC are


                                                 -4-
  Case 1:24-cv-03285-SHS-OTW               Document 354      Filed 05/20/25        Page 5 of 40




Delaware entities. OpenAI admits that OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI,

LLC, OpenAI OpCo, LLC, OpenAI Global, LLC, OAI Corporation, and OpenAI Holdings, LLC

are related entities. OpenAI denies any remaining allegations of this paragraph.

       18.     OpenAI admits that OpenAI, Inc. is a Delaware nonprofit corporation with a

principal place of business in San Francisco, California. OpenAI admits that OpenAI, Inc. was

formed in December 2015. OpenAI denies any remaining allegations of this paragraph.

       19.     OpenAI admits that the entity formerly known as OpenAI LP was formed in 2018,

renamed “OpenAI LP” in 2019, and is now known as OpenAI OpCo, LLC. OpenAI denies the

remaining allegations of this paragraph.

       20.     OpenAI admits that OpenAI GP, LLC is a Delaware limited liability company with

a principal place of business in San Francisco, California. OpenAI admits that OpenAI, Inc. is the

single member of OpenAI GP, LLC. OpenAI admits that OpenAI GP, LLC is a manager of

OpenAI Global, LLC. OpenAI denies any remaining allegations of this paragraph.

       21.     OpenAI admits that OpenAI, LLC is a Delaware limited liability company with a

principal place of business in San Francisco, California. OpenAI admits that OpenAI, LLC was

formed in September 2020. OpenAI denies any remaining allegations of this paragraph.

       22.     OpenAI admits that OpenAI OpCo, LLC is a Delaware limited liability company

with a principal place of business in San Francisco, California. OpenAI denies any remaining

allegations of this paragraph.

       23.     OpenAI admits that OpenAI Global, LLC is a Delaware limited liability company

with a principal place of business in San Francisco, California. OpenAI admits that Microsoft has

a minority economic interest in OpenAI Global, LLC. OpenAI denies any remaining allegations

of this paragraph.




                                               -5-
     Case 1:24-cv-03285-SHS-OTW            Document 354     Filed 05/20/25     Page 6 of 40




        24.    Denied.

        25.    OpenAI admits that OpenAI Holdings, LLC is a Delaware limited liability

company with a principal place of business in San Francisco, California. OpenAI admits that

OpenAI, Inc. and Aestas, LLC are members of OpenAI Holdings, LLC. OpenAI admits that

Aestas Management Company, LLC is the sole member of Aestas, LLC. OpenAI admits that

Aestas Management Company, LLC is a Delaware limited liability company. OpenAI denies the

remaining allegations of this paragraph.

                     IV.    RESPONSE TO FACTUAL ALLEGATIONS

A.      Response to The New York Times and its Mission

        1.     Response to Almost Two Centuries of High-Quality, Original, Independent News

        26.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        27.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        28.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        29.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        30.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining


                                               -6-
  Case 1:24-cv-03285-SHS-OTW            Document 354        Filed 05/20/25     Page 7 of 40




allegations of this paragraph.

       31.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       2.      Response to Groundbreaking, In-Depth Journalism and Breaking News at Great
               Cost

       32.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       33.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       34.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       35.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       36.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       37.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.



                                              -7-
  Case 1:24-cv-03285-SHS-OTW               Document 354        Filed 05/20/25       Page 8 of 40




       3.      Response to A Commitment to Quality Journalism

       38.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       39.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       40.     To the extent the allegations of this paragraph purport to quote from or reference a

publicly available webpage, the full text of that webpage speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with the full

text available at that link, OpenAI denies those allegations. OpenAI lacks knowledge or

information sufficient to admit or deny the allegations of this paragraph about Plaintiff, and on that

basis denies them. OpenAI denies any remaining allegations of this paragraph.

       41.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       42.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       43.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       44.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining


                                                 -8-
  Case 1:24-cv-03285-SHS-OTW            Document 354        Filed 05/20/25     Page 9 of 40




allegations of this paragraph.

       45.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       46.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       4.      Response to GenAI Products Threaten High-Quality Journalism

       47.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       48.     Denied.

       49.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       50.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       51.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       52.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.


                                              -9-
  Case 1:24-cv-03285-SHS-OTW            Document 354         Filed 05/20/25   Page 10 of 40




       53.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       54.     OpenAI admits that The Times reached out to OpenAI in April 2023. OpenAI lacks

knowledge or information sufficient to admit or deny the allegations of this paragraph about

Plaintiff and Microsoft Corporation, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

B.     Response to Defendants’ GenAI Products

       1.      Response to A Business Model Based on Mass Copyright Infringement

       55.     OpenAI admits that OpenAI, Inc. was formed in 2015 as a non-profit artificial

intelligence research company. OpenAI admits that Sam Altman, Greg Brockman, Elon Musk,

Reid Hoffman, Jessica Livingston, Peter Thiel, Amazon Web Services, Infosys, and YC Research

committed $1 billion to support OpenAI. OpenAI denies any remaining allegations of this

paragraph.

       56.     To the extent the allegations of this paragraph purport to quote from a publicly

available press release, the full text of the press release speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

press release, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       57.     OpenAI admits that it announced the creation of OpenAI LP in March 2019.

OpenAI admits that OpenAI LP was a “capped-profit” company. OpenAI admits that OpenAI’s

valuation is more than $90 billion. OpenAI admits that its revenue in 2024 was over $1 billion.

OpenAI denies any remaining allegations of this paragraph.

       58.     OpenAI admits that GPT-1 and GPT-2 are open-source and available for public


                                              -10-
  Case 1:24-cv-03285-SHS-OTW               Document 354         Filed 05/20/25       Page 11 of 40




review. OpenAI denies any remaining allegations of this paragraph.

       59.     To the extent the allegations of this paragraph purport to quote from a publicly

released research paper, the full text of that research paper speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

research paper, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       60.     To the extent the allegations of this paragraph purport to quote from a publicly

available interview, the full text of that interview speaks for itself. To the extent the allegations of

this paragraph purport to summarize or characterize or are inconsistent with that interview,

OpenAI denies those allegations. OpenAI denies any remaining allegations of this paragraph.

       61.     OpenAI admits that it released ChatGPT in November 2022. OpenAI admits that

ChatGPT recognizes and processes text inputs from a user and generates text outputs in response.

OpenAI admits that, by April 2024, ChatGPT had more than 100 million users across 185

countries. OpenAI denies any remaining allegations of this paragraph.

       62.     OpenAI admits that OpenAI OpCO, LLC offers products and services powered by

its GPT models to consumers and businesses. OpenAI admits that it offers a business-focused

service called ChatGPT Enterprise. OpenAI admits that it licenses its technology to corporate

clients. OpenAI denies any remaining allegations of this paragraph.

       63.     To the extent the allegations of this paragraph purports to cite a publicly available

press release, the full text of that press release speaks for itself. To the extent the allegations of

this paragraph purport to summarize, characterize, or are inconsistent with that press release,

OpenAI denies those allegations. To the extent the allegations of this paragraph purport to cite a

publicly available news article, the full text of that news article speaks for itself. To the extent the




                                                 -11-
  Case 1:24-cv-03285-SHS-OTW               Document 354       Filed 05/20/25     Page 12 of 40




allegations of this paragraph purport to summarize or characterize or are inconsistent with that

news article, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       64.     Denied.

       65.     Denied.

       66.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       67.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft Corporation, and on that basis denies them. OpenAI denies the

remaining allegations of this paragraph.

       68.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Microsoft Corporation, and on that basis denies them. OpenAI admits that

it has worked with Microsoft to build multiple supercomputing systems powered by Azure, which

have been used to train its models. To the extent the allegations of this paragraph purport to quote

from a publicly available speech, the full text of that speech speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

speech, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.




                                               -12-
  Case 1:24-cv-03285-SHS-OTW               Document 354        Filed 05/20/25      Page 13 of 40




       69.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       70.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available news article, the full text of that news article speaks for itself. To the extent

the allegations of this paragraph purport to summarize or characterize or are inconsistent with that

news article, OpenAI denies those allegations. To the extent the allegations of this paragraph

purport to quote from a publicly available press release, the full text of that press release speaks

for itself. To the extent the allegations of this paragraph purport to summarize or characterize or

are inconsistent with that press release, OpenAI denies those allegations. OpenAI denies any

remaining allegations of this paragraph.

       71.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available research paper, the full text of that research paper speaks for itself. To the

extent the allegations of this paragraph purport to summarize or characterize or are inconsistent

with that research paper, OpenAI denies those allegations.          OpenAI denies any remaining




                                                -13-
  Case 1:24-cv-03285-SHS-OTW             Document 354         Filed 05/20/25     Page 14 of 40




allegations of this paragraph.

       72.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI admits that it released in beta Internet browsing capabilities

within ChatGPT to ChatGPT Plus users in May 2023. OpenAI denies any remaining allegations

of this paragraph.

       73.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       74.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. To the extent the allegations of this paragraph purport to quote from

a publicly available interview, the full text of that interview speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

interview, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph. OpenAI denies any remaining allegations of this paragraph.

       2.      Response to How GenAI Models Work

       75.     OpenAI admits that some of OpenAI OpCo, LLC’s products rely on technology

that can be described as a “large language model.” OpenAI admits that “large language model”

can be abbreviated as “LLM.” OpenAI admits that GPT models are large language models.


                                               -14-
  Case 1:24-cv-03285-SHS-OTW               Document 354     Filed 05/20/25      Page 15 of 40




OpenAI admits that the models that power ChatGPT may recognize and process text inputs from

a user and generate text outputs in response. OpenAI denies any remaining allegations of this

paragraph.

       76.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies any remaining allegations of this paragraph.

       77.     OpenAI admits that its models are made up of large quantities of numbers called

“parameters.” OpenAI denies the remaining allegations of this paragraph.

       78.     OpenAI admits that its models are computer programs that are developed using

artificial intelligence and machine learning techniques. OpenAI admits that pre-training a model

involves teaching language to a model by showing it a wide range of text, and, utilizing

sophisticated statistical and computational analysis, having it try to predict the word that comes

next in each of a huge range of sentences. OpenAI admits that this process involves breaking text

down into roughly word-length “tokens,” which are then converted into numbers. OpenAI admits

that the model uses the training data to calculate numerical representations of each token’s

semantic meaning. OpenAI admits that a process known as a “transformer” then allows the model

to understand the context created by surrounding words and sentences, thus enabling an

understanding of a word’s different meanings depending on context.           OpenAI denies any

remaining allegations of this paragraph.

       79.     OpenAI admits that a pre-trained model may be fine-tuned. OpenAI admits that

fine-tuning may involve training a model on additional text.        OpenAI admits that it uses

reinforcement learning from human feedback to make its models safer, more helpful, and more

aligned. OpenAI denies any remaining allegations of this paragraph.




                                               -15-
  Case 1:24-cv-03285-SHS-OTW              Document 354        Filed 05/20/25      Page 16 of 40




       80.     To the extent the allegations of this paragraph purport to quote from a publicly

available paper, the full text of that paper speaks for itself. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with that paper, OpenAI denies

those allegations. OpenAI denies the remaining allegations of this paragraph.

       81.     OpenAI admits that its models may use Retrieval Augmented Generation. OpenAI

admits that this process involves retrieving relevant contextual information from a data source and

passing that information to the model alongside the user’s input. OpenAI admits that this

information is then used to improve the model’s output by augmenting the model’s base

knowledge. To the extent the allegations of this paragraph purport to cite a publicly available press

release, the full text of that press release speaks for itself. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with it, OpenAI denies those

allegations. OpenAI denies any remaining allegations of this paragraph.

C.     Response to Defendants’ Unauthorized Use and Copying of Times Content

       82.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies any remaining allegations of this paragraph.

       1.      Response to Unauthorized Reproduction of Times Works During GPT Model
               Training

       83.     OpenAI admits that GPT models are large language models. OpenAI admits that

GPT-1 was first launched in 2018, GPT-2 was first launched in 2019, GPT-3 was first launched in

2020, GPT-3.5 was first launched in 2022, and GPT-4 was first launched in 2023. OpenAI denies

the remaining allegations of this paragraph.

       84.     OpenAI admits that pre-training a model involves teaching language to a model by

showing the model a wide range of text, and, utilizing sophisticated statistical and computational



                                                -16-
  Case 1:24-cv-03285-SHS-OTW              Document 354         Filed 05/20/25      Page 17 of 40




analysis, having it try to predict the next token in each of a vast number of sequences. To the

extent the allegations of this paragraph purport to quote from a publicly available press release,

the full text of that press release speaks for itself. To the extent the allegations of this paragraph

purport to summarize or characterize or are inconsistent with that press release, OpenAI denies

those allegations. OpenAI admits that it has published information about the pre-training process

for GPT models. OpenAI denies any remaining allegations of this paragraph.

       85.     OpenAI admits that GPT-2 is a large transformer-based language model with 1.5

billion parameters. OpenAI admits that GPT-2 was trained using a dataset known as WebText.

OpenAI admits that WebText contains a text subset of outbound links from Reddit, a social media

platform, that received at least 3 karma. To the extent the allegations of this paragraph purport to

quote from publicly available press releases, research papers, or GitHub repositories, the full text

and contents of those press releases, research papers, or GitHub repositories speak for themselves.

To the extent the allegations of this paragraph purport to summarize or characterize or are

inconsistent with those press releases, research papers, or GitHub repositories, OpenAI denies

those allegations. OpenAI denies any remaining allegations of this paragraph.

       86.     OpenAI admits that GPT-3 is an autoregressive language model with 175 billion

parameters trained on datasets known as Common Crawl (filtered), WebText2, Books1, Books2,

and Wikipedia. To the extent the allegations of this paragraph purport to cite a publicly available

research paper, the full text of that research paper speaks for itself. To the extent the allegations

of this paragraph purport to summarize or characterize or are inconsistent with that research paper,

OpenAI denies those allegations. OpenAI denies any remaining allegations of this paragraph.

       87.     OpenAI admits that WebText2 is an expanded version of the WebText dataset

created by collecting links over a longer period of time. To the extent the allegations of this




                                                -17-
  Case 1:24-cv-03285-SHS-OTW               Document 354      Filed 05/20/25     Page 18 of 40




paragraph purport to summarize or characterize or are inconsistent with that research paper,

OpenAI denies those allegations. OpenAI lacks knowledge or information sufficient to admit or

deny the allegations of this paragraph about OpenWebtext2, and on that basis denies them.

OpenAI denies any remaining allegations of this paragraph.

       88.     OpenAI admits that a filtered Common Crawl dataset had the highest weight in the

training mix for GPT-3. OpenAI lacks knowledge or information sufficient to admit or deny the

allegations of this paragraph about C4 or the Common Crawl organization, and on that basis denies

them. OpenAI denies any remaining allegations of this paragraph.

       89.     OpenAI admits that Times content, including content from News, Cooking,

Wirecutter, and The Athletic, appears on the internet. OpenAI lacks knowledge or information

sufficient to admit or deny the allegations of this paragraph about C4 or about any singular

“Common Crawl dataset,” and on that basis denies those allegations.           OpenAI denies any

remaining allegations of this paragraph.

       90.     To the extent the allegations of this paragraph purport to quote from a publicly

available research paper, the full text of that research paper speaks for itself. To the extent the

allegations of this paragraph purport to summarize or characterize or are inconsistent with that

research paper, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       91.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about “experts” and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

       92.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,




                                               -18-
  Case 1:24-cv-03285-SHS-OTW            Document 354        Filed 05/20/25     Page 19 of 40




and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       93.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       94.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       95.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       96.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       97.     To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       2.      Response to Embodiment of Unauthorized Reproductions and Derivatives of
               Times Works in GPT Models

       98.     Denied.

       99.     OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

       100.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies the remaining



                                              -19-
  Case 1:24-cv-03285-SHS-OTW             Document 354      Filed 05/20/25     Page 20 of 40




allegations of this paragraph.

       101.    Denied.

       3.      Response to Unauthorized Public Display of Times Works in GPT Product
               Outputs

       102.    OpenAI admits that it offers services called ChatGPT, ChatGPT Plus, ChatGPT

Enterprise, and that those services are powered by OpenAI’s GPT models. To the extent the

allegations of this paragraph are directed at Microsoft Corporation, OpenAI lacks knowledge or

information sufficient to admit or deny those allegations, and on that basis denies them. OpenAI

denies the remaining allegations of this paragraph.

       103.    Denied.

       104.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       105.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       106.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       107.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       4.      Response to Unauthorized Retrieval and Dissemination of Current News

       108.    Denied.

       109.    Denied.

       110.    Denied.

       111.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.



                                               -20-
  Case 1:24-cv-03285-SHS-OTW             Document 354      Filed 05/20/25     Page 21 of 40




               a)     Response to Examples of Synthetic Search Results from Bing Chat

       112.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       113.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       114.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       115.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       116.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       117.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

               b) Response to Synthetic Search Results from ChatGPT Browse with Bing

       118.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       119.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       120.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       121.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       122.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.


                                               -21-
  Case 1:24-cv-03285-SHS-OTW             Document 354         Filed 05/20/25     Page 22 of 40




       123.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       5.      Response to Willful Infringement

       124.    OpenAI admits that it trained, fine-tuned, and tested GPT models. To the extent

the allegations of this paragraph purport to quote from a publicly available paper, the full text of

that paper speaks for itself. To the extent the allegations of this paragraph purport to summarize

or characterize or are inconsistent with that paper, OpenAI denies those allegations. OpenAI

denies the remaining allegations of this paragraph.

       125.    To the extent the allegations of this paragraph relate to a claim that has been

dismissed, no response is required and OpenAI denies those allegations on that basis. OpenAI

admits that it trained, fine-tuned, and tested its GPT models. To the extent the allegations of this

paragraph purport to quote from a publicly available paper, the full text of that paper speaks for

itself. To the extent the allegations of this paragraph purport to summarize or characterize or are

inconsistent with that paper, OpenAI denies those allegations. OpenAI denies the remaining

allegations of this paragraph.

       126.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

D.     Response to Misappropriation of Commercial Referrals

       127.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       128.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the


                                               -22-
  Case 1:24-cv-03285-SHS-OTW             Document 354        Filed 05/20/25      Page 23 of 40




allegations of this paragraph.

       129.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       130.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       131.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       132.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       133.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       134.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       135.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

E.     Response to “Hallucinations” Falsely Attributed to The Times

       136.    To the extent the allegations of this paragraph are directed at Microsoft


                                               -23-
     Case 1:24-cv-03285-SHS-OTW          Document 354       Filed 05/20/25     Page 24 of 40




Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

        137.   OpenAI lacks knowledge or information about the allegations of this paragraph

about a third party’s use of ChatGPT, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

        138.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        139.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        140.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        141.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

        142.   Denied.

F.      Response to Profit to Defendants

        143.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

        144.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

        145.   Denied.

        146.   OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Google, and on that basis denies them. OpenAI denies any remaining


                                               -24-
  Case 1:24-cv-03285-SHS-OTW              Document 354         Filed 05/20/25      Page 25 of 40




allegations of this paragraph.

       147.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Google, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       148.    Denied.

       149.    OpenAI admits that ChatGPT had more than 300 million weekly active users as of

December 2024. OpenAI admits that it offers a subscription plan, called ChatGPT Plus, that is

available for $20 per month. To the extent the allegations of this paragraph purport to quote a

publicly available press release, the full text of that press release speaks for itself. To the extent

the allegations of this paragraph purport to summarize or characterize or are inconsistent with the

press release, OpenAI denies those allegations. OpenAI denies any remaining allegations of this

paragraph.

       150.    To the extent the allegations of this paragraph purport to cite a publicly available

news article, the full text of that article speaks for itself. To the extent the allegations of this

paragraph purport to summarize or characterize or are inconsistent with the news article, OpenAI

denies those allegations. OpenAI denies any remaining allegations of this paragraph.

       151.    OpenAI admits that Microsoft invested $1 billion in OpenAI in 2019. OpenAI

admits that Microsoft has made additional investments in OpenAI. OpenAI admits that its current

valuation is more than $80 billion. OpenAI denies any remaining allegations of this paragraph.

       152.    OpenAI lacks knowledge or information sufficient to admit or deny allegations

about Microsoft Corporation, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       153.    OpenAI lacks knowledge or information sufficient to admit or deny allegations




                                                -25-
  Case 1:24-cv-03285-SHS-OTW               Document 354      Filed 05/20/25      Page 26 of 40




about Microsoft Corporation, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

G.     Response to Harm to The Times

       154.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff and its readers, and on that basis denies them. OpenAI denies the

remaining allegations of this paragraph.

       155.    Denied.

       156.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph about Plaintiff, and on that basis denies them. OpenAI denies the remaining

allegations of this paragraph.

       157.    Denied.

                     COUNT I: Copyright Infringement (17 U.S.C. § 501)

                                    Against All Defendants

       158.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–157.

       159.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph, and on that basis denies them.

       160.    Denied.

       161.    Denied.

       162.    Denied.

       163.    Denied.

       164.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,


                                               -26-
  Case 1:24-cv-03285-SHS-OTW             Document 354        Filed 05/20/25     Page 27 of 40




and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       165.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       166.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       167.    Denied.

       168.    Denied.

                         COUNT II: Vicarious Copyright Infringement

     Against Microsoft, OpenAI Inc., OpenAI GP, OpenAI LP, OAI Corporation LLC,
                    OpenAI Holdings LLC, and OpenAI Global LLC

       169.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–168.

       170.    OpenAI lacks knowledge or information sufficient to admit or deny allegations

about Microsoft Corporation, and on that basis denies them. OpenAI denies any remaining

allegations of this paragraph.

       171.    Denied.

       172.    Denied.

       173.    Denied.

                      COUNT III: Contributory Copyright Infringement

                                       Against Microsoft

       174.    This paragraph incorporates by reference the preceding factual allegations, and thus




                                               -27-
  Case 1:24-cv-03285-SHS-OTW            Document 354        Filed 05/20/25      Page 28 of 40




no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–173.

       175.   The allegations of this paragraph relate to a claim that has not been alleged against

OpenAI, and thus no response is required. To the extent a response is deemed required, OpenAI

lacks knowledge or information sufficient to admit or deny the allegations about Microsoft

Corporation, and on that basis denies them.

       176.   The allegations of this paragraph relate to a claim that has not been alleged against

OpenAI, and thus no response is required. To the extent a response is deemed required, OpenAI

lacks knowledge or information sufficient to admit or deny the allegations about Microsoft

Corporation, and on that basis denies them.

       177.   The allegations of this paragraph relate to a claim that has not been alleged against

OpenAI, and thus no response is required. To the extent a response is deemed required, OpenAI

lacks knowledge or information sufficient to admit or deny the allegations about Microsoft

Corporation, and on that basis denies them.

                     COUNT IV: Contributory Copyright Infringement

                                    Against All Defendants

       178.   This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–177.

       179.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       180.   To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,


                                               -28-
  Case 1:24-cv-03285-SHS-OTW             Document 354        Filed 05/20/25      Page 29 of 40




and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

   COUNT V: Digital Millennium Copyright Act – Removal of Copyright Management
                           Information (17 U.S.C. § 1202)

                                     Against All Defendants

       181.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–180.

       182.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       183.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       184.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       185.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       186.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       187.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the



                                               -29-
  Case 1:24-cv-03285-SHS-OTW             Document 354        Filed 05/20/25      Page 30 of 40




allegations of this paragraph.

       188.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       189.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       190.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       191.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

            COUNT VI: Common Law Unfair Competition By Misappropriation

                                     Against All Defendants

       192.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–191.

       193.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       194.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.


                                               -30-
  Case 1:24-cv-03285-SHS-OTW             Document 354        Filed 05/20/25      Page 31 of 40




       195.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       196.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

       197.    The allegations of this paragraph relate to a claim that has been dismissed, and thus

no response is required. To the extent a response is deemed required, OpenAI denies the

allegations of this paragraph.

                   COUNT VII: Trademark Dilution (15 U.S.C. § 1125(c))

                                     Against All Defendants

       198.    This paragraph incorporates by reference the preceding factual allegations, and thus

no response is required. To the extent a response is deemed required, OpenAI incorporates by

reference its responses to paragraphs 1–197.

       199.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph and on that basis denies them.

       200.    OpenAI lacks knowledge or information sufficient to admit or deny the allegations

of this paragraph and on that basis denies them.

       201.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       202.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.


                                               -31-
  Case 1:24-cv-03285-SHS-OTW            Document 354        Filed 05/20/25      Page 32 of 40




       203.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.

       204.    To the extent the allegations of this paragraph are directed at Microsoft

Corporation, OpenAI lacks knowledge or information sufficient to admit or deny those allegations,

and on that basis denies them. OpenAI denies the remaining allegations of this paragraph.



                                AFFIRMATIVE DEFENSES

       In further answer to the allegations made by Plaintiff in the Complaint, OpenAI asserts the

following affirmative defenses. OpenAI does not concede that it has the burden of proof on the

defenses listed below.

                             FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs do not own or hold

exclusive rights under 17 U.S.C. § 106 or any copyright law over each work that was allegedly

infringed by OpenAI.

                            SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the copyright registrations

purporting to cover some or all of the works in dispute are invalid and do not satisfy the

requirements of 17 U.S.C. § 411–412.

                             THIRD AFFIRMATIVE DEFENSE

       To the extent there is copying of copyrightable expression, that copying constitutes fair

use.




                                              -32-
  Case 1:24-cv-03285-SHS-OTW                  Document 354         Filed 05/20/25      Page 33 of 40




                                FOURTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrines of copyright misuse and

unclean hands.

                                  FIFTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs have suffered no

provable injury as a result of the challenged conduct, which inter alia precludes relief under 17

U.S.C. § 1203(a).

                                  SIXTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims fail in whole or in part because the complained-of use was validly

licensed by express or implied license.

                                SEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred in whole or in part by the doctrines of waiver, abandonment,

and/or forfeiture.

                                 EIGHTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

                                  NINTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel.

                                 TENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ claims fail in whole or in part because OpenAI’s conduct was innocent, not

willful.

                               ELEVENTH AFFIRMATIVE DEFENSE

           Plaintiffs’ remedies are barred at least in part by the applicable statutes of limitations.




                                                    -33-
  Case 1:24-cv-03285-SHS-OTW              Document 354        Filed 05/20/25       Page 34 of 40




                           TWELFTH AFFIRMATIVE DEFENSE

       Plaintiffs are barred from recovery of damages because of and to the extent of its failure to

mitigate its alleged damages (to which, in any event, they are not entitled).

                         THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, to the extent they claim rights to elements

of works or to works which are not protectable under copyright law, or that are in the public

domain, lack the requisite originality, are unregistered, or are works to which copyright protection

has been abandoned.

                           FOURTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited by the doctrine of

merger.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited by the idea/expression

dichotomy.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited because the material in

which Plaintiffs claim copyright constitutes “scènes à faire.”

                        SEVENTEENTH AFFIRMATIVE DEFENSE

       To the extent there is copying of copyrightable expression, that copying is de minimis.

                         EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims of copyright infringement are barred or limited because the material in

which Plaintiffs claim copyright constitutes unprotectible facts.




                                                -34-
  Case 1:24-cv-03285-SHS-OTW               Document 354          Filed 05/20/25      Page 35 of 40




                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims fail, in whole or in part, because the allegedly violative conduct was

innocent pursuant to 17 U.S.C. § 1203(c)(5)(A).

                          TWENTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims fail, in whole or in part, for failure to state a claim.

                        TWENTY-FIRST AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because the acts alleged in the First

Amended Complaint are not an infringement of copyright, including because the alleged acts are

fair use and/or de minimis, and/or because copyright protection is barred by the doctrine of merger,

the doctrine of scène à faire, or the idea/expression dichotomy.

                       TWENTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because OpenAI reasonably believed that

the acts alleged in the First Amended Complaint were not an infringement of copyright, including

because the alleged acts are fair use and/or de minimis, and/or because copyright protection is

barred by the doctrine of merger, the doctrine of scènes à faire, and/or the idea/expression

dichotomy.

                        TWENTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because OpenAI did not know or have

reasonable grounds to know that the acts alleged in the First Amended Complaint were an

infringement of copyright, including because the alleged acts are fair use and/or de minimis, and/or

because copyright protection is barred by the doctrine of merger, the doctrine of scènes à faire,

and/or the idea/expression dichotomy.




                                                 -35-
  Case 1:24-cv-03285-SHS-OTW              Document 354        Filed 05/20/25      Page 36 of 40




                      TWENTY-FOURTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs are not entitled to

injunctive relief (temporarily, preliminarily, or permanently), including because any injury to it is

not immediate or irreparable, Plaintiffs would have an adequate remedy at law, the balance of

hardships favors no injunction, and the public interest is best served by no injunction.

                        TWENTY-FIFTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because any reproduction, distribution, or

display of any allegedly infringing outputs, or copies allegedly made in the generative search

process, were caused by the acts or omissions of other persons or entities for whose conduct

OpenAI is not legally responsible.

                        TWENTY-SIXTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because they are barred by the safe harbor

provisions of the Digital Millennium Copyright Act, 17 U.S.C. § 512 (a)-(d).

                      TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because all of the models accused of

infringement, and all of OpenAI’s products and services offered in connection with those accused

models, are capable of substantial non-infringing uses.

                       TWENTY-EIGHTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ allegations do not

demonstrate a cognizable trademark use.




                                                -36-
  Case 1:24-cv-03285-SHS-OTW              Document 354         Filed 05/20/25       Page 37 of 40




                        TWENTY-NINTH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ alleged trademarks are

not famous, or inherently distinctive, and have not acquired secondary meaning.

                           THIRTIETH AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because their marks are not sufficiently

famous or distinctive to warrant protection under federal or state dilution laws.

                          THIRTY-ONE AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, based on the doctrine of fair use as the

asserted trademarks are descriptive and do not serve as source identifiers.

                        THIRTY-SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred, in whole or in part, because OpenAI has not, directly or

indirectly, willfully or innocently, diluted Plaintiffs’ trademarks.

                         THIRTY-THIRD AFFIRMATIVE DEFENSE

       Plaintiffs’ claim for damages is barred by the Eighth and Fourteenth Amendments to the

U.S. Constitution.

                        THIRTY-FOURTH AFFIRMATIVE DEFENSE

       OpenAI reserves all affirmative defenses under Rule 8(c) of the Federal Rules of Civil

Procedure, and any other defenses at law or in equity, that may now exist or in the future become

available based on discovery and further factual investigation.




                                                 -37-
Case 1:24-cv-03285-SHS-OTW   Document 354      Filed 05/20/25    Page 38 of 40




Dated:   May 20, 2025.       MORRISON & FOERSTER LLP



                             By: /s/ Joseph Gratz
                                Joseph C. Gratz (pro hac vice)
                                JGratz@mofo.com
                                425 Market Street
                                San Francisco, CA 94105-2482
                                Telephone: (415) 268-7000
                                Facsimile: (415) 268-7522

                                 Rose S. Lee
                                 RoseLee@mofo.com
                                 707 Wilshire Boulevard
                                 Los Angeles, CA 90017
                                 Telephone: (213) 892-5200
                                 Facsimile: (213) 892-5454

                                 Carolyn M. Homer
                                 CMHomer@mofo.com
                                 2100 L Street, NW
                                 Suite 900
                                 Washington, DC 20037
                                 Telephone: (202) 650-4597
                                 Facsimile: (202) 887-0763

                                 Jocelyn E. Greer
                                 JGreer@mofo.com
                                 Emily C. Wood
                                 EWood@mofo.com
                                 Eric K. Nikolaides
                                 ENikolaides@mofo.com
                                 250 W. 55th Street
                                 New York, NY 10019-9601
                                 Telephone: (212) 468-8000
                                 Facsimile: (212) 468-7900

                                 Attorneys for Defendants
                                 OPENAI, INC., OPENAI LP, OPENAI GP,
                                 LLC, OPENAI, LLC, OPENAI OPCO LLC,
                                 OPENAI GLOBAL LLC, OAI CORPORATION,
                                 LLC, and OPENAI HOLDINGS, LLC




                                  -38-
Case 1:24-cv-03285-SHS-OTW   Document 354      Filed 05/20/25    Page 39 of 40




Dated:   May 20, 2025.       LATHAM & WATKINS LLP

                             By: /s/ Andrew Gass
                                Andrew Gass (pro hac vice)
                                andrew.gass@lw.com
                                Joseph R. Wetzel (pro hac vice)
                                joe.wetzel@lw.com
                                505 Montgomery Street, Suite 2000
                                San Francisco, CA 94111
                                Telephone: (415) 391-0600

                                Sarang Damle
                                sy.damle@lw.com
                                Elana Nightingale Dawson (pro hac vice)
                                elana.nightingaledawson@lw.com
                                555 Eleventh Street NW, Suite 100
                                Washington, DC 20004
                                Telephone: (202) 637-2200

                                Allison L. Stillman
                                alli.stillman@lw.com
                                Rachel R. Blitzer
                                rachel.blitzer@lw.com
                                Herman H. Yue
                                herman.yue@lw.com
                                Michael A. David
                                Michael.david@lw.com
                                Luke Budiardjo
                                luke.budiardjo@lw.com
                                Yijun Zhong
                                elaine.zhong@lw.com
                                1271 Avenue of the Americas
                                New York, NY 10020
                                Telephone: (212) 906-1200

                                Allison S. Blanco (pro hac vice)
                                allison.blanco@lw.com
                                650 Town Center Drive, Suite 2000
                                Costa Mesa, CA 92626
                                Telephone: (714) 540-1235

                                 Attorneys for Defendants
                                 OPENAI, INC., OPENAI LP, OPENAI GP,
                                 LLC, OPENAI, LLC, OPENAI OPCO LLC,
                                 OPENAI GLOBAL LLC, OAI CORPORATION,
                                 LLC, and OPENAI HOLDINGS, LLC


                                  -39-
Case 1:24-cv-03285-SHS-OTW   Document 354       Filed 05/20/25    Page 40 of 40




Dated:   May 20, 2025.       KEKER, VAN NEST & PETERS LLP


                             By: /s/ Paven Malhotra
                                Robert A. Van Nest (pro hac vice)
                                RVanNest@keker.com
                                R. James Slaughter (pro hac vice)
                                RSlaughter@keker.com
                                Paven Malhotra
                                PMalhotra@keker.com
                                Michelle S. Ybarra (pro hac vice)
                                MYbarra@keker.com
                                Nicholas S. Goldberg (pro hac vice)
                                NGoldberg@keker.com
                                Thomas E. Gorman (pro hac vice)
                                TGorman@keker.com
                                Katie Lynn Joyce (pro hac vice)
                                KJoyce@keker.com
                                Christopher S. Sun (pro hac vice)
                                csun@keker.com
                                Andrew S. Bruns (pro hac vice)
                                ABruns@keker.com
                                Andrew Dawson (pro hac vice)
                                ADawson@keker.com
                                Edward A. Bayley (pro hac vice)
                                EBayley@keker.com
                                Sarah Salomon
                                Ssalomon@keker.com
                                633 Battery Street
                                San Francisco, CA 94111-1809
                                Telephone: (415) 391-5400
                                Facsimile: (415) 397-7188

                                 Attorneys for Defendants
                                 OPENAI, INC., OPENAI LP, OPENAI GP,
                                 LLC, OPENAI, LLC, OPENAI OPCO LLC,
                                 OPENAI GLOBAL LLC, OAI CORPORATION,
                                 LLC, and OPENAI HOLDINGS, LLC




                                   -40-
